                      Case 1:21-cv-03068-BAH Document 3 Filed 12/02/21 Page 1 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                      District
                                                __________     of Maryland
                                                           District of __________

            XL Specialty Insurance Company                       )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 1:21-cv-03068
                                                                 )
  Bighorn Construction and Reclamation, LLC, et al.              )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Bighorn Construction and Reclamation, LLC, 777 Main Street, Suite 2800, Fort Worth,
                                       Texas 76102. Serve on as registered agent, URS Agents, LLC, 3610-2 N. Josey Lane,
                                       Suite 223, Carrollton, Texas 75007




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Kevin S. Brotspies
                                       Trif & Modugno, LLC
                                       89 Headquarters Plaza
                                       North Tower, Suite 1201
                                       Morristown, New Jersey 07960


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:        12/02/2021
                                                                                      Signature of Clerk or Deputy Clerk
                       Case 1:21-cv-03068-BAH Document 3 Filed 12/02/21 Page 2 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:21-cv-03068

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                      Case 1:21-cv-03068-BAH Document 3 Filed 12/02/21 Page 3 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                      District
                                                __________     of Maryland
                                                           District of __________

            XL Specialty Insurance Company                       )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 1:21-cv-03068
                                                                 )
  Bighorn Construction and Reclamation, LLC, et al.              )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Bighorn Investments and Properties, LLC, 777 Main Street, Suite 2800, Fort Worth,
                                       Texas 76102. Serve on as registered agent, URS Agents, LLC, 3610-2 N. Josey Lane,
                                       Suite 223, Carrollton, Texas 75007




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Kevin S. Brotspies
                                       Trif & Modugno, LLC
                                       89 Headquarters Plaza
                                       North Tower, Suite 1201
                                       Morristown, New Jersey 07960


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT

           12/02/2021
Date:
                                                                                      Signature of Clerk or Deputy Clerk
                       Case 1:21-cv-03068-BAH Document 3 Filed 12/02/21 Page 4 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:21-cv-03068

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                      Case 1:21-cv-03068-BAH Document 3 Filed 12/02/21 Page 5 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                       District
                                                 __________     of Maryland
                                                            District of __________

            XL Specialty Insurance Company                        )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                       Civil Action No. 1:21-cv-03068
                                                                  )
  Bighorn Construction and Reclamation, LLC, et al.               )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Bridgelink Commodities, LLC, 777 Main Street, Suite 2800, Fort Worth, Texas 76102.
                                       Serve on as registered agent, URS Agents, LLC, 3610-2 N. Josey Lane, Suite 223,
                                       Carrollton, Texas 75007




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Kevin S. Brotspies
                                       Trif & Modugno, LLC
                                       89 Headquarters Plaza
                                       North Tower, Suite 1201
                                       Morristown, New Jersey 07960


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:          12/02/2021
                                                                                      Signature of Clerk or Deputy Clerk
                       Case 1:21-cv-03068-BAH Document 3 Filed 12/02/21 Page 6 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:21-cv-03068

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                      Case 1:21-cv-03068-BAH Document 3 Filed 12/02/21 Page 7 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                       District
                                                 __________     of Maryland
                                                            District of __________

            XL Specialty Insurance Company                        )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                       Civil Action No. 1:21-cv-03068
                                                                  )
            Bridgelink Engineering, LLC, et al.                   )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Bridgelink Engineering, LLC, 777 Main Street, Suite 2800, Fort Worth, Texas 76102.
                                       Serve on as registered agent, URS Agents, LLC, 3610-2 N. Josey Lane, Suite 223,
                                       Carrollton, Texas 75007




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Kevin S. Brotspies
                                       Trif & Modugno, LLC
                                       89 Headquarters Plaza
                                       North Tower, Suite 1201
                                       Morristown, New Jersey 07960


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT

               12/02/2021
Date:
                                                                                      Signature of Clerk or Deputy Clerk
                       Case 1:21-cv-03068-BAH Document 3 Filed 12/02/21 Page 8 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:21-cv-03068

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                      Case 1:21-cv-03068-BAH Document 3 Filed 12/02/21 Page 9 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                       District
                                                 __________     of Maryland
                                                            District of __________

            XL Specialty Insurance Company                        )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                       Civil Action No. 1:21-cv-03068
                                                                  )
  Bighorn Construction and Reclamation, LLC, et al.               )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Bridgelink Investments, LLC, 777 Main Street, Suite 2800, Fort Worth, Texas 76102.
                                       Serve on as registered agent, URS Agents, LLC, 3610-2 N. Josey Lane, Suite 223,
                                       Carrollton, Texas 75007




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Kevin S. Brotspies
                                       Trif & Modugno, LLC
                                       89 Headquarters Plaza
                                       North Tower, Suite 1201
                                       Morristown, New Jersey 07960


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT

              12/02/2021
Date:
                                                                                      Signature of Clerk or Deputy Clerk
                       Case 1:21-cv-03068-BAH Document 3 Filed 12/02/21 Page 10 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:21-cv-03068

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                     Case 1:21-cv-03068-BAH Document 3 Filed 12/02/21 Page 11 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                      District
                                                __________     of Maryland
                                                           District of __________

            XL Specialty Insurance Company                      )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 1:21-cv-03068
                                                                )
  Bighorn Construction and Reclamation, LLC, et al.             )
                                                                )
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Bridgelink Development, LLC, 777 Main Street, Suite 2800, Fort Worth, Texas 76102.




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Kevin S. Brotspies
                                       Trif & Modugno, LLC
                                       89 Headquarters Plaza
                                       North Tower, Suite 1201
                                       Morristown, New Jersey 07960


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT

              12/02/2021
Date:
                                                                                     Signature of Clerk or Deputy Clerk
                       Case 1:21-cv-03068-BAH Document 3 Filed 12/02/21 Page 12 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:21-cv-03068

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                     Case 1:21-cv-03068-BAH Document 3 Filed 12/02/21 Page 13 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                      District
                                                __________     of Maryland
                                                           District of __________

            XL Specialty Insurance Company                       )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 1:21-cv-03068
                                                                 )
  Bighorn Construction and Reclamation, LLC, et al.              )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Bridgelink Renewable Energy Investments, LLC, 777 Main Street, Suite 2800, Fort
                                       Worth, Texas 76102. Serve on as registered agent, URS Agents, LLC, 3610-2 N. Josey
                                       Lane, Suite 223, Carrollton, Texas 75007




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Kevin S. Brotspies
                                       Trif & Modugno, LLC
                                       89 Headquarters Plaza
                                       North Tower, Suite 1201
                                       Morristown, New Jersey 07960


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT

            12/02/2021
Date:
                                                                                      Signature of Clerk or Deputy Clerk
                       Case 1:21-cv-03068-BAH Document 3 Filed 12/02/21 Page 14 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:21-cv-03068

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                     Case 1:21-cv-03068-BAH Document 3 Filed 12/02/21 Page 15 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                      District
                                                __________     of Maryland
                                                           District of __________

            XL Specialty Insurance Company                      )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 1:21-cv-03068
                                                                )
  Bighorn Construction and Reclamation, LLC, et al.             )
                                                                )
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Cassie J. Hamilton, 127 Trace Drive, Weatherford, Texas 76087




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Kevin S. Brotspies
                                       Trif & Modugno, LLC
                                       89 Headquarters Plaza
                                       North Tower, Suite 1201
                                       Morristown, New Jersey 07960


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT

             12/02/2021
Date:
                                                                                     Signature of Clerk or Deputy Clerk
                       Case 1:21-cv-03068-BAH Document 3 Filed 12/02/21 Page 16 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:21-cv-03068

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                     Case 1:21-cv-03068-BAH Document 3 Filed 12/02/21 Page 17 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                      District
                                                __________     of Maryland
                                                           District of __________

            XL Specialty Insurance Company                      )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 1:21-cv-03068
                                                                )
  Bighorn Construction and Reclamation, LLC, et al.             )
                                                                )
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Cole W. Johnson, 1301 Old Tin Top Road, Weatherford, Texas 76087




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Kevin S. Brotspies
                                       Trif & Modugno, LLC
                                       89 Headquarters Plaza
                                       North Tower, Suite 1201
                                       Morristown, New Jersey 07960


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT

              12/02/2021
Date:
                                                                                     Signature of Clerk or Deputy Clerk
                       Case 1:21-cv-03068-BAH Document 3 Filed 12/02/21 Page 18 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:21-cv-03068

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                     Case 1:21-cv-03068-BAH Document 3 Filed 12/02/21 Page 19 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                      District
                                                __________     of Maryland
                                                           District of __________

            XL Specialty Insurance Company                      )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 1:21-cv-03068
                                                                )
  Bighorn Construction and Reclamation, LLC, et al.             )
                                                                )
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Cord H. Johnson, 127 Trace Drive, Weatherford, Texas 76087




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Kevin S. Brotspies
                                       Trif & Modugno, LLC
                                       89 Headquarters Plaza
                                       North Tower, Suite 1201
                                       Morristown, New Jersey 07960


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:        12/02/2021
                                                                                     Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:21-cv-03068

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                     Case 1:21-cv-03068-BAH Document 3 Filed 12/02/21 Page 21 of 22
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                      District
                                                __________     of Maryland
                                                           District of __________

            XL Specialty Insurance Company                       )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 1:21-cv-03068
                                                                 )
  Bighorn Construction and Reclamation, LLC, et al.              )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Intermountain Electric Service, Inc., LLC, 777 Main Street, Suite 2800, Fort Worth,
                                       Texas 76102. Serve on as registered agent, Corporation Service Company D/B/A
                                       CSC-Lawyers Inc., 211 E. 7th Street Suite 620, Austin, Texas 87801




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Kevin S. Brotspies
                                       Trif & Modugno, LLC
                                       89 Headquarters Plaza
                                       North Tower, Suite 1201
                                       Morristown, New Jersey 07960


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:      12/02/2021
                                                                                      Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:21-cv-03068

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
